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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                                                             CASE NO.:

 MICHELINA IAFFALDANO,

        Plaintiff,
 vs.

 SUN WEST MORTGAGE COMPANY, INC.,

       Defendant.
 _______________________________________/

                                           COMPLAINT

        Plaintiff, Michelina Iaffaldano, by and through undersigned counsel, hereby sues

 Defendant Sun West Mortgage Servicing, and alleges as follows:

                        THE PARTIES, JURISDICTION, AND VENUE

        1.      Plaintiff, Michelina Iaffaldano is a natural person over the age of 21. She is a citizen

 of the State of Florida and resides in Port Saint Lucie, Florida. She will be referred to hereafter as

 “Borrower.”

        2.      Defendant Sun West Mortgage Company, Inc. (“Sun West”) is a corporation

 organized and existing under the laws of the State of Delaware with its principal place of business

 in the State of California. This Defendant is in the business of originating and servicing home

 equity conversion mortgages as that term is defined by 12 C.F.R. §1024.2(f) and that are

 guaranteed by the Federal Housing Administration. These types of mortgages are often referred

 to as “reverse mortgages.”

        3.      Sun West is in the business of servicing federally related reverse mortgage loans.

 As a reverse mortgage servicer, Sun West is subject to specific federal laws and administrative

 regulations governing its mortgage servicing activities. These laws and regulations include, but
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 are not limited to, the Real Estate Settlement Procedures Act, 12 U.S.C. § 2601 et. seq. (hereinafter

 “RESPA”) and its implementing Regulation X, 12 C.F.R §1024 (hereinafter “Regulation X”).

        4. At all times material, Sun West serviced Borrower’s reverse mortgage, which is secured

 by real property located in St. Lucie County, Florida.

        5.      Borrower’s claims against Sun West arise under RESPA, 12 U.S.C. §2601 et. seq.

 Accordingly, this Court has federal question jurisdiction over these claims pursuant to 28 U.S.C.

 § 1331.

        6.       The acts and omissions that give rise to this lawsuit either occurred in St. Lucie

 County, Florida or relate to real property and other business transactions that occurred in St. Lucie

 County, Florida. Accordingly, venue is proper in this Court.

                                   GENERAL ALLEGATIONS

        7.      Borrower owns a home located in Port Saint Lucie, Florida.

        8.      Borrower obtained an “equity conversion mortgage” also referred to as a “reverse

 mortgage” with Security One Lending as the Borrower

        9.      The terms of the mortgage required Borrower to maintain hazard insurance and

 flood insurance on the subject property. However, due to financial hardships she became unable

 to do so.

        10.     Beginning on or about August 2014 and continuing every year thereafter, Sun West

 obtained a series of force-placed hazard and flood insurance policies on Borrower’s property.

 These hazard and flood insurance policies were issued by insurance companies through the surplus

 lines insurance market.
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        11.     Under the terms of the mortgage, Borrower was obligated to pay the premium

 associated with the force-placed insurance coverage that Sun West obtained. If she failed to do

 so, Sun West was permitted to foreclose the mortgage against her home.

        12.     A foreclosure lawsuit filed by Sun West against the Borrower in the Circuit Court

 of the 19th Judicial Circuit in and for St. Lucie County was voluntarily dismissed in December

 2016. The foreclosure was primarily the result of Borrower’s inability to pay the premiums

 associated with the surplus lines force-placed insurance coverage by Sun West. Shortly following

 the dismissal of the foreclosure, Sun West assigned the Borrower’s Mortgage to the Secretary of

 Housing and Urban Development (“HUD”).

        15.     Borrower was and is financially unable to pay the premiums associated with the

 force-placed insurance coverage, which is considerably higher than insurance that could have

 easily been obtained through admitted carriers.

        16.     Borrower’s reverse mortgage is fully guaranteed by the Federal Housing Finance

 Agency, an instrumentality of the United States government.

        17.     Because there is substantial equity in Borrower’s home, and because the reverse

 mortgage is backed by the full faith and credit of the United States government, Sun West stood

 no risk of incurring a financial loss if the foreclosure were successful, even if Borrower’s home

 were to sell for less than the amount of the debt.

        18.     Surplus lines insurance is almost always far more expensive than insurance sold by

 admitted insurers.

        19.     Unlike insurance sold by admitted carriers which is backed by the Florida Insurance

 Guarantee Agency (FIGA), an instrumentality of the State of Florida, policyholders purchasing

 surplus lines insurance are exposed to the insurer’s credit risk. If a surplus policyholder has a
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 covered claim but the insurer became insolvent after issuing the policy, the policyholder will not

 receive any compensation. Conversely, the holder of a policy issued by an admitted insurer would

 receive full compensation from FIGA.

        20.     Unlike insurance sold by admitted carriers, the rates charged and policy used by

 surplus lines insurers must not be approved by Florida insurance regulators. The regulators review

 of these forms is focused on protecting the insured policyholder’s interests.

        21.     Recognizing that surplus lines insurance is inherently less desirable than admitted

 coverage, the Florida Legislature has forbidden Florida licensed insurance agents and brokers from

 selling surplus lines insurance to Florida consumers unless comparable coverage cannot be

 obtained from the admitted market. See § 626.916, Florida Statutes.

        22.     At all material times, appropriate hazard and flood insurance covering Borrower’s

 home was readily available through Florida licensed insurers participating in the admitted market.

                                      CLAIM FOR RELIEF

                                 VIOLATION OF THE RESPA

        23.     Borrower re-alleges and incorporates by reference the allegations in Paragraphs 1

 through 22.

        24.     As part of the 2010 Dodd/Frank Wall Street Reform and Consumer Protection Act,

 Congress enacted amendments to RESPA found at 12 U.S.C. §2605(m) prohibiting mortgage

 servicers from imposing charges upon borrowers for force-placed insurance products that are not

 bona fide and reasonable. However, that provision did not become effective until January 10th,

 2014 when the Consumer Financial Protection Bureau completed administrative rulemaking and

 RESPA’s implementing regulation 12 C.F.R. §1024 (“Regulation X”) took effect.
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        25.     Sun West violated 12 U.S.C. §2605(m) with each and every hazard insurance

 transaction on Borrower’s account after January 10th, 2014 because the charges for the overpriced
                                                                                  1
 surplus lines force-placed insurance on Borrower’s account are not reasonable.

        26.     As a result of Sun West’s imposition of unreasonable charges for force-placed

 insurance, Borrower has been damaged by unlawful and inflated insurance charges imposed upon

 his account. These charges caused or exacerbated the previous foreclosure lawsuit.

        27.     Before the force-placed insurance policy premium was in place, the Borrower

 obtained a voluntary insurance hazard policy issued by People’s Trust Insurance Company. The

 premium for the People’s Trust policy was $2,484, which then increased in the amount of $191

 due to wind mitigation adjustment resulting in a total premium of $2,675.

        28. Conversely, Sun West obtained a force-placed insurance policy premium (“FPI

 Premium”) on the Borrower’s mortgage at a cost of $4,942.77 with an effective sate of August 25,

 2014. Therefore, the Borrower’s damages in this respect are equal to the difference between the

 FPI Premium and the voluntary premium. Additionally, the Borrower’s damages were first

 incurred on August 25, 2014 and continued each year thereafter.

        29.     Sun West routinely procures surplus lines insurance on the Florida properties

 within its servicing portfolio.   Accordingly, Sun West’s violation of 12 U.S.C. §2605(m)

 represents a pattern and practice inconsistent with Sun West’s obligations under RESPA.

        30.     Under 12 U.S.C. §2605(f), Borrower is entitled to an award of actual damages,

 statutory damages, attorney’s fees, and litigation costs as a result of Sun West’s violation of 12

 U.S.C. §2605(m) described above.




 1
  Because the flood insurance appears to be exempt from RESPA under 12 C.F.R. §1024.37 a.2.i,
 Borrower’s RESPA claims are limited to the hazard insurance transactions.
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        WHEREFORE, Borrower demands trial by jury and respectfully requests that this

 Honorable Court enter final judgment in his favor in the total amount of his damages, including

 statutory damages, as determined at trial together with an award of reasonable attorneys’ fees and

 taxable costs.

                                      DEMAND FOR TRIAL BY JURY

                  Plaintiff demands trial by jury on all claims so triable.

                                 Respectfully Submitted,

                                 THE LAW OFFICES OF JEFFREY N. GOLANT, P.A.

                                 1999 N. UNIVERSITY DRIVE STE. 213
                                 CORAL SPRINGS, FL 33071
                                 Phone: (954) 942-5270
                                 Fax: (954) 942-5272
                                 Email: jgolant@jeffreygolantlaw.com
                                 By: /S/ JEFFREY N. GOLANT, ESQ.
                                 Fla. Bar No.: 0707732
                                 Counsel for Plaintiff Michelina Iaffaldano


                                 THE LAW OFFICES OF JEFFREY N. GOLANT, P.A.

                                 1999 N. UNIVERSITY DRIVE STE. 213
                                 CORAL SPRINGS, FL 33071
                                 Tel: (954) 942-5270
                                 Fax: (954) 942-5272
                                 Email: krajabalee@jeffreygolantlaw.com
                                 By: /S/ KEVIN RAJABALEE, ESQ.
                                 Fla. Bar No. 119948
                                 Counsel for Plaintiff Michelina Iaffaldano
